 Case 2:20-mc-51123-NGE-DRG ECF No. 2 filed 10/21/20              PageID.5    Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

              Plaintiff-Respondent,                     No. 20-mc-51123

v.                                                      Honorable Nancy G. Edmunds

EVAN ALEXANDER JOHNSON,

           Defendant-Petitioner.
________________________________________/

             ORDER DENYING WITHOUT PREJUDICE DEFENDANT’S
           MOTION FOR RETURN OF PROPERTY [1] AND CLOSING CASE

       On August 24, 2015, a jury found Defendant Evan Alexander Johnson guilty of

RICO conspiracy in violation of 18 U.S.C. § 1962(d) (Count 1) and possession of a

firearm in furtherance of a crime of violence in violation of 18 U.S.C. § 924(c) (Count

6). (Case no. 14-20119, dkt. 367.) On April 12, 2016, the Court sentenced Defendant

and entered judgment. (Id. at dkt. 450.) The Sixth Circuit affirmed on direct appeal

and issued its mandate on March 26, 2018. 1 (Id. at dkts. 534, 535.) On September 8,

2020, Defendant filed a pro se motion for the return of his property pursuant to Federal

Rule of Criminal Procedure 41(g). (Dkt. 1.) Defendant seeks the return of a Samsung

Galaxy cell phone that was seized during the execution of a search warrantLVVXHGLQ

KLVFULPLQDOFDVH. The Clerk’s office opened the above-captioned miscellaneous case

and docketed Defendant’s motion within this case.




       1
       Defendant later filed a motion for post-conviction relief under 28 U.S.C. §
2255, which remains pending before the Court.
Case 2:20-mc-51123-NGE-DRG ECF No. 2 filed 10/21/20                PageID.6    Page 2 of 2




       Under Federal Rule of Criminal Procedure 41(g), “[a] person aggrieved by an

unlawful search and seizure of property or by the deprivation of property may move for

the property’s return.” However, this rule only applies if a criminal case is pending.

After a criminal conviction, a motion under Rule 41(g) is treated as a civil action in

equity. See Stiger v. United States, 100 F. App’x 370, 371-72 (6th Cir. 2004) (citing

United States v. Dusenbery, 201 F.3d 763, 768 (6th Cir. 2000); United States v.

Duncan, 918 F.2d 647, 654 (6th Cir. 1990)). Here, criminal proceedings are no longer

pending and Defendant did not file a civil action. Thus, the Court will deny

Defendant’s motion without prejudice to the filing of an appropriate civil action. See

United States v. Savage, 99 F. App’x 583, 584 (6th Cir. 2004) (finding the district court

did not err when it denied a Rule 41(g) motion filed after judgment was entered and

instructed the movant to file a separate civil action); see also In re Khalid Bin Al-Saud,

No. 12-mc-50076, 2012 U.S. Dist. LEXIS 173058, at *2-3 (E.D. Mich. Dec. 6, 2012).

       In light of the foregoing, Defendant’s motion for the return of property is

DENIED WITHOUT PREJUDICE, and this miscellaneous case is CLOSED.

       SO ORDERED.

                                   s/Nancy G. Edmunds
                                   Nancy G. Edmunds
                                   United States District Judge


Dated: October 1, 2020

I hereby certify that a copy of the foregoing document was served upon
counsel of record on October 1, 2020, by electronic and/or ordinary mail.

                                   s/Lisa Bartlett
                                   Case Manager
